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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B. P. J., by her next friend and mother,
 HEATHER JACKSON,

      Plaintiff,

 v.                                             CIVIL ACTION NO. 2:21-cv-00316
                                                Judge Joseph R. Goodwin
 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY
 BOARD OF EDUCATION, WEST
 VIRGINIA SECONDARY SCHOOL
 ACTIVITIES COMMISSION,
 W. CLAYTON BURCH, in his official
 Capacity as State Superintendent, DORA
 STUTLER, in her official capacity as
 Harrison County Superintendent, and
 THE STATE OF WEST VIRGINIA,

        Defendants.

 and LAINEY ARMISTEAD,

        Intervenor Defendant.



    REPLY IN SUPPORT OF DEFENDANT STATE OF WEST VIRGINIA AND
 DEFENDANT-INTERVENOR LAINEY ARMISTEAD’S JOINT MOTION IN LIMINE
          TO BAR PLAINTIFF’S CLAIMS TO UNDISPUTED FACTS

       Defendant, State of West Virginia (the “State”), and Defendant Intervenor (the State and

the Intervenor are collectively the “Defendants”) filed a Motion In Limine To Bar Plaintiff’s

Claims To Undisputed Facts (“State’s Initial Motion,” ECF Nos. 398 and 399) and Plaintiff filed

its opposition (“Pl.’s Op.,” ECF No. 441). The Defendants reply as follows.
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                                           ARGUMENT

   A. Plaintiff’s Description Of “Undisputed” Facts Is Incorrect And Should Not Be
      Permitted.

       Plaintiff apparently concedes that Plaintiff’s Statement of Undisputed Material Facts

(“Plaintiff’s SUF,” ECF No. 290) is not admissible, either in whole or in part. Pl’s. Opp. at 2, ECF

No. 441. Accordingly, Defendants respectfully request that the Court enter an order memorializing

this concession and precluding the admission of Plaintiff’s SUF into evidence.

       Plaintiff argues that a party may describe a fact as undisputed, even if it is not agreed upon,

citing Danser v. Stansberry, 772 F.3d 340, 342 (4th Cir. 2014). Pl. Opp. at 2. But Danser simply

makes Defendants’ point because the court was careful to refer to facts as “undisputed” only if

there really was no dispute, and to specify which facts were disputed and which were not. Danser,

772 F.3d at 343. Defendants are simply asking this Court to require Plaintiff to take the same care

by not referring to facts as “undisputed” unless there really is no dispute.

       To be sure, Plaintiff claims that Plaintiff will not describe facts as “undisputed” unless that

description is accurate. Pl’s. Op. at 2. But Plaintiff’s assertion falls flat because Plaintiff’s SUF

already describes many disputed facts as undisputed. For example, in Plaintiff’s SUF, Plaintiff

asserts 137 “undisputed” material facts. See Plaintiff’s SUF. In response, the State particularly

contested 82 of those “undisputed facts,” supported by references to testimony or other evidence.

See State’s Resp. to Pl’s SUF, ECF No. 330. Other parties have also disputed the Plaintiff’s SUF

in their respective memoranda in opposition to Plaintiff’s Motion for Summary Judgment. Hence,

Plaintiff has already engaged in representing disputed facts as undisputed. Accordingly, it is

entirely proper for the Defendants to ask for a preemptive order to preclude this behavior at trial.




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   B. It Is Unfairly Prejudicial To Describe Facts As Undisputed Unless All Parties Have
      Agreed To The Facts.

       Rule 403 of the Federal Rules of Evidence states that courts “may exclude relevant

evidence if its probative value is substantially outweighed by a danger of…unfair prejudice.” Fed.

R. Evid. 403. Plaintiff cites U.S. v. Mohr, 318 F.3d 613, 619 (4th Cir. 2003) in support of the

proposition that unfair prejudice does not include facts that simply diminish the case of a party.

Pl.’s Opp. at 2-3. But that is not the issue here. By describing disputed facts as “undisputed,”

Plaintiff is presenting the case in a way that not only is false, but also is unfairly prejudicial. The

Defendants should not be encumbered with the weight of rebutting a false claim of a conceded or

agreed-upon fact.

   C. Plaintiff Concedes That Defendants May Ask The Court For A Limiting Instruction

       Plaintiff admits that Defendants may request a limiting instruction. Pl’s Op. at 3. The

Defendants have done this very thing in the Initial Motion. Initial Motion at 3, ECF No. 399. See

Lubbock Feed Lots, Inc. v. Iowa Beef Processors, Inc., 630 F.2d 250, 266 (5th Cir. 1980) (“Once

the court determines that such evidence should be admitted, however, it cannot refuse a requested

limiting instruction.”). Accordingly, Defendants respectfully request that the Court rule that a

limiting instruction will be provided to make it clear to the jury that stipulations and discovery

responses are only binding against the parties who provided them and are not to be considered as

admissions against parties who did not.

                                          CONCLUSION

       For the foregoing reasons, the Defendants respectfully request that this Court grant the

Motion in Limine and restrict Plaintiff’s use of stipulations, interrogatory answers, or admissions

to only between parties specified in such and bar any characterization of facts undisputed unless

all parties have agreed to them.

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                                         Respectfully submitted.

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DATE: July 11, 2022




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                   IN THE UNITED STATES DISTRICT COURT
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                           CHARLESTON DIVISION

 B. P. J., by her next friend and mother,
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 v.                                                CIVIL ACTION NO. 2:21-cv-00316
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 THE STATE OF WEST VIRGINIA,

        Defendants.

 and LAINEY ARMISTEAD,

        Intervenor Defendant.

                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 11th day of July, 2022, I electronically filed the foregoing

with the Clerk of Court and all parties using the CM/ECF System.


                                              /s/ Curtis R. A. Capehart
                                              Curtis R. A. Capehart
